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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

AMTAX HOLDINGS 2001-VV, LLC, ET AL.                                CIVIL ACTION

VERSUS                                                             NO. 14-2652

WARREN HOMES, LLC, ET AL.                                          SECTION “N” (1)

                                      JUDGMENT

              As set forth in this Court's November 9, 2015 Order and Reasons (Rec. Doc. 287),

which granted Defendant Loraso's motion for reconsideration (Rec. Doc. 276) of the Court's

September 24, 2015 Order and Reasons (Rec. Doc. 263), relative to his previously filed motion to

dismiss for lack of subject matter jurisdiction (Rec. Doc. 173), IT ORDERED, ADJUDGED AND

DECREED that the claims asserted by Plaintiff AMTAX Holdings 2001-VV, as well as the

remaining breach of contract counterclaim asserted by Defendant Loraso, are DISMISSED

WITHOUT PREJUDICE for lack of subject matter jurisdiction.

              New Orleans, Louisiana, this 11th day of May 2016.


                                                   _____________________________________
                                                    KURT D. ENGELHARDT
                                                    United States District Judge
